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                               ADDENDUM

                        Westinghouse Bench Decision
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    1      UNITED STATES BANKRUPTCY COURT

    2      SOUTHERN DISTRICT OF NEW YORK

    3      Case No. 17-10751-mew

    4      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

    5      In the Matter of:

    6

    7      WESTINGHOUSE ELECTRIC COMPANY LLC, et al.,

    8

    9                     Debtor.

   10      - - - - - - - - - - - - - - - - - - - - - - - - - - - - x

   11

   12                          United States Bankruptcy Court

   13                          One Bowling Green

   14                          New York, NY      10004

   15

   16                          July 20, 2018

   17                          4:01 PM

   18

   19

   20

   21      B E F O R E :

   22      HON MICHAEL E. WILES

   23      U.S. BANKRUPTCY JUDGE

   24

   25      ECRO:       F. FERGUSON

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    1      HEARING re Decision to be read into the record concerning

    2      Landstar's objection to Whitebox's notices of partial

    3      transfer of claim.

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   25      Transcribed by:      Sonya Ledanski Hyde

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    1      A P P E A R A N C E S :

    2

    3      PRESENT TELEPHONICALLY:

    4

    5      BRIAN P. MORGAN

    6      CHRIS STAUBLE

    7      CINDY DELANO

    8      STACY A. LUTKUS

    9      PATRICK MOHAN

  10       MATTHEW MADDOX

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    1                               P R O C E E D I N G S

    2                  THE COURT:     All right.      Are the parties here on

    3      the Whitebox-Landstar dispute?

    4                  MR. NEWMAN:     Yes, Your Honor.          This is C.G.

    5      Newman from Davis & Gilbert for Landstar.

    6                  MR. PIERCE:     Your Honor, this is Clay Pierce from

    7      Drinker Biddle & Reah on behalf of Whitebox.

    8                  THE COURT:      Thank you very much.          All right, we

    9      are here so that I may dictate my decision into the record.

   10      I’m going to direct the Whitebox attorneys as the attorneys

   11      for the party who filed the transfer notices to obtain a

   12      transcript of what I say and to provide it to the Court in

   13      Word format so that we can clean up the inevitable

   14      inadvertent misstatements or mis-citations, or misspellings

   15      that will occur.

   16                  In particular, I have noted that after 40 years of

   17      legal and judicial practice and 40 years of what to me

   18      always seemed like ever-changing Blue Book conventions, I am

   19      notoriously inconsistent in the citation formats that I use,

   20      so that citations that I read in the record today will have

   21      to be cleaned up in the final bench decision.               So let me get

   22      to the decision.

   23                  I want to start by commending the parties’ counsel

   24      on their excellent, and very thoughtful submissions and on

   25      the streamlined and professional way in which the exhibits

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    1      and the testimony were presented.         It was a great help as

    2      well as a great pleasure to the Court to have experienced

    3      advocates present a case in such a high quality manner.

    4                  Before the Court are disputes that relate to three

    5      proofs of claim filed in the Chapter 11 case of Westinghouse

    6      Electric Company, et al.      The proofs of claim were filed by

    7      Landstar Global Logistics, Inc., Landstar Inway, Inc., and

    8      Landstar Express America, Inc.        For convenience I will refer

    9      to those three entities collectively today as Landstar, as

   10      for purposes of today’s rulings it is not necessary to

   11      distinguish among them.

   12                  On February 6, 2018, notices of the partial

   13      transfers of the three claims were filed.           Collectively, the

   14      notices contemplated a full transfer of each claim but the

   15      notices were denominated as partial transfers because there

   16      were multiple transferees who were involved with respect to

   17      individual claims.

   18                  The transfer notices are at Docket Numbers 24-27

   19      through 24-32.    A corrected version of Docket Number 24-27

   20      was filed on February 7, 2018 to correct an inadvertent

   21      error in the attachments to the notice, and that corrected

   22      notice is at Docket Number 24-33.         If you hear a pause, I’ve

   23      just taken a drink of water.       That’s all.

   24                  The filed transfer notices included attachments

   25      that explained the bases for the transfers.           The attachments

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    1      asserted that the Landstar entities had offered to sell the

    2      claims and that the offers had been accepted by Seaport

    3      Global Holdings, LLC, which was acting on behalf of an

    4      entity named Whitebox Advisors, LLC, which, in turn, was

    5      acting for affiliated entities named Whitebox Multi-strategy

    6      Partners, LP, Whitebox Asymmetric Partners, LP, and Whitebox

    7      Multi-strategy Partners, LP.       I may have listed one of those

    8      entities twice.

    9                  During the remainder of this opinion I will refer

   10      to Seaport Global Holdings, LLC as Seaport.         I will also

   11      refer to the various Whitebox entities collectively as

   12      Whitebox, just as the parties did throughout the trial.

   13      Because for today’s rulings it is not necessary to

   14      distinguish among the various Whitebox entities.

   15                  Transfers of claims are subject to the terms of

   16      Rule 3001 of the Federal Rules of Bankruptcy Procedure.            On

   17      February 26, 2018, the Court approved a stipulation among

   18      the parties that extended the Landstar parties’ deadline for

   19      the filing of objections to the claim transfers to and

   20      including March 15, 2018.      Landstar then filed a timely

   21      objection to the transfer notices on March 15, 2018.          (See

   22      Docket Number 28-57.)

   23                  Section 502 of the Bankruptcy Code gives me

   24      jurisdiction over claims against an estate, and the Federal

   25      Rules of Bankruptcy Procedure give me power to resolve

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    1      disputes over claim transfers.        The parties agreed, at least

    2      with respect to the validity of the transfer notices, that I

    3      had jurisdiction and that I could and should render a final

    4      decision on the merits of their dispute.

    5                  However, there have been some changes during the

    6      course of these proceedings in the legal theories advanced

    7      by the parties, or more particularly, in the legal theories

    8      advanced by Whitebox, which resulted in some additional

    9      questions at the outset of the trial.

   10                  As background to those questions I need to set

   11      forth a somewhat more detailed procedural history than might

   12      otherwise have been needed.

   13                  Whitebox contended in its February 6th transfer

   14      notices that a series of email exchanges gave rise to a

   15      “qualified financial contract” under Section 5-701B2i of the

   16      New York General Obligations Law.         Whitebox argued that the

   17      alleged transfer agreement was fully binding and enforceable

   18      based on the email exchanges and without regard to whether

   19      further documentation was signed.

   20                  Landstar made a number of arguments in the

   21      objection that it filed on March 15, 2018.

   22                  First, Landstar contended that there had not been

   23      an offer and an unequivocal acceptance.             It contended that

   24      the sale offer identified by Whitebox had not been accepted,

   25      but instead that a counteroffer had been made.             Landstar

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    1      further argued that the counteroffer substantially altered

    2      the economics of the proposed deal, that it was rejected by

    3      Landstar and that no contract was formed.

    4                  Second, Landstar contended that the parties had

    5      made clear in their discussions that no contract of sale

    6      could or would be formed until the execution of definitive

    7      written agreements, and that absent such written agreements,

    8      there was no intent to be found.

    9                  Third, Landstar argued that material terms of a

   10      contract, such as the identities of the actual purchasers

   11      and certain economic terms, had never been agreed upon.

   12      Landstar, therefore, objected to the transfer notices in

   13      their entirety and asked the Court to order Whitebox to

   14      withdraw them and to direct the claims agent to recognize

   15      Landstar as the holder of the claims.

   16                  After the filing of the objection, certain

   17      discovery disputes arose between the parties and were the

   18      subject of a telephone conference with the Court.           The Court

   19      also directed the parties to make further submissions

   20      regarding the relevant legal issues, and the parties did so

   21      on May 24, 2018.    The Whitebox submission is at Docket

   22      Number 32-66 and the Landstar submission is at Docket Number

   23      32-63.

   24                  In its May 24th submission, Whitebox continued to

   25      argue that the parties’ email exchanges created an

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    1      enforceable contract that was binding without execution of a

    2      written agreement.

    3                   However, Whitebox also argued in the alternative

    4      that the exchanges produced a binding preliminary commitment

    5      that obligated the parties to negotiate in good faith as to

    6      other open terms.     Whitebox described this as a contention

    7      that the parties had entered into a so-called Type II

    8      agreement, as that term is used in the Second Circuit Court

    9      of Appeals decision in Brown v. Cara, 420 F.3d 148 (2d

   10      Cir.2005).

   11                   In Cara, the Second Circuit describes such a

   12      contract as one in which parties enter into a binding

   13      agreement as to certain terms and a binding agreement to

   14      negotiate in good faith as to other open issues.

   15                   We often see examples of such contracts in the

   16      form of commitment letters to negotiate financing or, as in

   17      the Cara decision, in the form of a memorandum of

   18      understanding in which parties contractually commit that

   19      they will work together to accomplish a particular project.

   20                   The parties appeared before the Court to discuss

   21      Landstar’s objection to the transfers on May 30, 2018.             At

   22      that time, counsel for Landstar urged the Court to resolve

   23      the matter based on the written materials that had been

   24      submitted.     Counsel for Whitebox contended that further

   25      discovery was needed and that a trial should be held to

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    1      resolve disputes as to the parties’ intent.           I ruled that

    2      discovery should be completed and that the matter should be

    3      scheduled for trial.

    4                   The parties completed discovery and submitted a

    5      pretrial order that was entered by the Court on July 16,

    6      2018 with a corrected version entered July 18, 2018.            (See

    7      Docket Numbers 35-86 and 35-97.) Trial was held on July 18,

    8      2018.

    9                   In the pretrial order, Whitebox continued to argue

   10      that the parties’ exchanges created a fully binding

   11      agreement or, alternatively, that they created a Type II

   12      agreement in which the parties had legally agreed to bind

   13      themselves to certain terms and to negotiate other terms in

   14      good faith.

   15                   When I asked about this at the outset of trial,

   16      however, one of Whitebox’s attorneys stated that Whitebox’s

   17      only contention was that the parties had reached a binding

   18      Type II contract.

   19                   There was some considerable confusion over this,

   20      at least in my mind, as two different attorneys for Whitebox

   21      made statements about Whitebox’s contentions that I had

   22      trouble reconciling.

   23                   It was made emphatically clear by the end of the

   24      trial, however, that Whitebox was contending only that a

   25      partial Type II contract had been reached and was not

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    1      contending that a fully enforceable agreement on all

    2      relevant terms had been reached.

    3                    These exchanges at the outset of the trial raised

    4      other issues.      In the pretrial order and at the outset of

    5      the trial, Landstar took the position that the so-called

    6      Type II contract issue should not be considered by the

    7      Court.

    8                    Landstar argued that the only relevant issue

    9      before the Court was whether transfers had actually

   10      occurred.      Landstar contended at the outset of the trial

   11      that it was plain from Whitebox’s changed position that

   12      transfers of the claims had not actually occurred and that

   13      the only contention was that Landstar had breached a

   14      commitment to discuss a possible transfer, and so there was

   15      nothing more that I should do.

   16                    The Court pointed out, however, that Whitebox’s

   17      reliance on the Type II contract issue did not involve any

   18      element of unfair surprise.        Whitebox’s attorney referred to

   19      this contention in a letter dated January 30, 2018, a copy

   20      of which had previously been sent to the Court and had been

   21      pre-marked as an agreed exhibit for the trial.

   22                    As I have noted here, Whitebox had also addressed

   23      the issue in its May 24 submissions and in the pretrial

   24      order.      It was also plain and the parties acknowledged that

   25      they were prepared to go to trial on the issue.         After

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    1      discussion, Landstar agreed that the matter should proceed

    2      to trial on all issues.

    3                  These exchanges raised questions in my mind as to

    4      my jurisdiction over the parties’ dispute.          Plainly, the

    5      parties agreed that I had jurisdiction to resolve the issues

    6      that were framed by the filing of the Notices of Transfer

    7      and the objection thereto.      The parties conceded my

    8      jurisdiction over these issues in their pre-trial order.

    9                  At trial I raised a question as to whether I still

   10      had jurisdiction to consider the Type II contract theory in

   11      the absence of other contentions.         I pointed out that I have

   12      jurisdiction over disputes that relate to Chapter 11 cases

   13      and that this has been widely interpreted to apply to cases

   14      that affect an estate.

   15                  However, if Whitebox were merely to be entitled to

   16      seek money damages from Landstar, it was hard to see how the

   17      matter would affect the bankruptcy estate.

   18                  Whitebox’s counsel argued in response that if it

   19      succeeded on its claim, it believed it would be entitled to

   20      seek specific performance and that I had jurisdiction to

   21      resolve that issue and to resolve all of the related

   22      disputes between the parties.        It insisted that I had

   23      jurisdiction over all aspects of the parties’ dispute from

   24      the outset and should render a final decision.

   25                  Landstar argued initially that I should not reach

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    1      the Type II contract issue for the reasons that I have

    2      stated.     But ultimately it conceded that this was not a

    3      jurisdictional issue, and after discussion, Landstar

    4      explicitly agreed on the record that the Court should make a

    5      final decision of the matter and that Landstar consented to

    6      a final resolution of the matter by the Court.

    7                   It is clear that the parties’ entire dispute over

    8      these alleged transfers has revolved from the start around

    9      the question of whether they had entered into enforceable

   10      and binding contracts of any kind.          The parties agreed that

   11      I had clear and admitted original jurisdiction over their

   12      disputes at the outset.

   13                   Section 13-67 of Title 28 of the United States

   14      Code provides that if a District Court has original

   15      jurisdiction over a matter, it also has “supplemental

   16      jurisdiction over all other claims that are so related to

   17      claims in the action within such original jurisdiction that

   18      they form part of the same case or controversy under Article

   19      III of the United States Constitution.” The Bankruptcy Court

   20      is a unit of the District Court that exercises the District

   21      Court’s jurisdiction under Section 13-34 of Title 28 of the

   22      United States Code.

   23                   There is some disagreement in prior decisions as

   24      to whether a bankruptcy court may exercise supplemental

   25      jurisdiction under Section 13-67.         See, for example, 16

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    1      Moore’s Federal Practice, Section 106.05[10] at 106.34.2(1)

    2      Second Edition 2012.

    3                    However, the Second Circuit Court of Appeals has

    4      held that bankruptcy courts do have jurisdiction under the

    5      principles of supplemental jurisdiction set forth in Section

    6      13-67.      See Klein v. Civale & Trovato, Inc., In re: Lionel

    7      Corp. 29 F.3d 88, 92 (2d Cir. 1994).

    8                    Furthermore, as I noted, the parties agreed that I

    9      had jurisdiction at the outset of these disputes.           Even if

   10      the issues narrowed once the trial was completed, my

   11      jurisdiction was not lost.       See Dery v. Wyer 265 F.2d 804,

   12      808 (2d Cir. 1959).      Noting the general principle that the

   13      sufficiency of a Court’s jurisdiction should be determined

   14      once and for all at the threshold, and if found to be

   15      present then, should continue until final resolution of the

   16      action.

   17                    I concluded for these reasons, and I reaffirm

   18      here, that it was appropriate for me to hear and resolve all

   19      of the parties’ disputes regardless of whether the nature of

   20      the issues might have changed somewhat as the case

   21      progressed, and regardless of whether the issues might have

   22      narrowed as the case progressed.          And as noted, the parties

   23      agreed with that approach and agreed to my entry of a final

   24      and binding ruling.

   25                    As to the issues, Whitebox contends that there was

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    1      a so-called Type II contract between the parties, pursuant

    2      to which they agreed to be legally bound to a price and to

    3      negotiate in good faith to complete agreement as to other

    4      terms of sale.    It also claims that Landstar breached this

    5      agreement by abandoning the deal rather than engaging in

    6      good faith negotiations.

    7                  As the party claims a breach of contract, it is

    8      Whitebox’s burden to prove the existence of the contract by

    9      a fair preponderance of the evidence.           See Angelo, Gordon &

   10      Company, LP v. Dycom Industries, 2006 U.S. District Lexis

   11      15784 SDNY, March 31, 2006 at Page 5.           This is true

   12      regardless of the type of contract that is alleged.

   13                  It is also Whitebox’s burden to prove that any

   14      such contract was breached, which again is subject to a

   15      preponderance of the evidence standard.             See Diesel

   16      Properties SRL v. Greystone Bus Credit II LLC, 631 F.3d

   17      42,52 (2d Cir. 2011), Mercury Partners, LLC v. Pacific

   18      Medical Buildings, LP, Number 02CIV6005, 2007 West Law,

   19      2197830 at Star 8, SDNY July 31, 2007.

   20                  Several other principles of New York law are

   21      relevant to these issues.      First, it is a basic tenet of

   22      contract law that no contract exists unless there is an

   23      offer, an acceptance of the offer, consideration, mutual

   24      assent, and an intent to be bound.          See Kowalchuk v. Stroup,

   25      873 NYS 2d. 4346 active 2009.

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    1                  An offer and acceptance occur if a definitive

    2      offer is made and if there is an “unequivocal” acceptance of

    3      that offer.    See Kolchins v. Evolution Markets, Inc., 31 NY

    4      3d. 100, 1006, 2018.     (“The first step is to determine

    5      whether there is a sufficiently definite offer such that its

    6      unequivocal acceptance will give rise to an enforceable

    7      contract.”); Roer v. Cross County Medical Center Group, 8380

    8      2d. 861, 862, Second Department, 1981.              (“It is a

    9      fundamental principle of contract law that a valid

   10      acceptance must comply with the terms of the offer.”)

   11                  If a communication is subject to additional or

   12      different terms, then it is not an acceptance of an offer.

   13      “To enter a contract, a party must clearly and unequivocally

   14      accept the offeror’s terms.       If, instead, the offeree

   15      responds by conditioning acceptance on new or modified

   16      terms, that response constitutes both a rejection and a

   17      counteroffer which extinguished the original offer.” See

   18      Thor Properties, LLC v. Willspring Holdings, LLC, 118 A.D.

   19      3d 505, 507-8 First Department 2014.          (Internal citations

   20      omitted).

   21                  As a result, if a purported acceptance is

   22      “qualified with conditions,” it is “equivalent to a

   23      rejection and counteroffer.” Robison v. Sweeney, 301 A.D. 2d

   24      815, 818 Third Department 2003.        This is a fundamental

   25      principle of contract law.      Id, see also Jericho Group, Ltd.

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    1      v. Midtown Development LP, 32 A.D. 3d 294, 299 First

    2      Department 2006; Commerce Funding Corp. v. Comprehensive

    3      Habilitation Services, Inc., 2005 U.S.              District Lexis 2832

    4      at Star 33, 37-38, SDNY February 24, 2005.              (“A

    5      communication that purports to accept an offer cannot be

    6      subject to additional or different terms.              Such a

    7      communication is no acceptance at all, but is an absolute

    8      rejection of the offer and a proposed counteroffer.”)

    9                   Whitebox has filed papers yesterday asserting

   10      that there are certain exceptions to this rule that ought to

   11      be applicable to this case, but I will discuss those after

   12      I’ve made my factual findings and when I discuss the

   13      application of the law to the facts as I have found them.

   14                  Second, the creation of a contract requires more

   15      than a conceptual agreement on terms.           It requires in

   16      addition an agreement to be legally bound to those terms

   17      such that an enforceable obligation is created.                 Contracts

   18      are obligations that are undertaken by agreement rather than

   19      obligations that are enforced or imposed by law, and parties

   20      can impose limits and conditions as to when an agreement

   21      will become binding.

   22                  Under New York law, therefore, it is well-settled

   23      that if the parties to an agreement do not intend it to be

   24      binding upon them unless and until it is reduced to writing

   25      and signed by both of them, they are not bound and may not

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    1      be held liable until it has been written out and signed.

    2      Scheck v. Francis, 311 NYS 2d. 841, 843 1970.                This is true

    3      even if the parties have orally agreed upon all the terms of

    4      a transaction.      Schwartz v. Greenberg, 304 NY 250 1952;

    5      Kowalchuk v. Stroup, 61 A.D. 3d 118 active 2009.                See also

    6      Matter of Municipal Consultants & Publications v. Town of

    7      Ramapo, 47 NY 2d. 144, 148 1979; ADCO Electric Corp. v. HRH

    8      Construction, LLC, 880 NYS 2d. 188 active 2009; Lost CR

    9      Associates v. Marine Midland Bank, 741 NYS 2d 115 active

   10      2002.

   11                   Courts have identified a number of factors that

   12      aid in determining in a particular case whether a binding

   13      contract has been formed in the absence of a document

   14      executed by both sides.       These factors are:           One, whether

   15      there is an expressed reservation of the right not to be

   16      bound in the absence of a writing; two, whether there has

   17      been a partial performance of the contract; three, whether

   18      all terms of the alleged contract have been agreed upon;

   19      and, four, whether the agreement at issue is the type of

   20      contract usually committed to writing.                See Winston v.

   21      Mediafare Entertainment Corp., 777 F.2d 78 80 Second Circuit

   22      1986.

   23                   These circumstances may be shown by oral testimony

   24      or by correspondence or other preliminary or partially

   25      complete writings.       Restatement second of contract Section

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    1      27, Comment C (1981)(cited with approval in Winston 777 F.2d

    2      at 81).

    3                  No single one of these factors is decisive, but

    4      each can provide significant guidance in a particular case.

    5      However, “considerable weight is put on a party’s explicit

    6      statement that it reserves the right to be bound only

    7      whenever an agreement is signed.” RG Group, Inc. v. Horn &

    8      Hardart Co., 751 F.2d 69 75 Second Circuit 1984.

    9                  “When there is a writing showing that one party

   10      did not intend to be bound, a court need look no further

   11      than the first Winston factor.” RKG Holdings Inc. v. Simon,

   12      182 F.3d 901 Second Circuit 1999.         (Quoting Arcadian

   13      Phosphates Inc. v. Arcadian Corp., 884 F.2d 69, 72 Second

   14      Circuit 1989.)

   15                  Third, there usually is no binding contract unless

   16      there is a full agreement on all important terms.

   17      “Ordinarily preliminary manifestations of assent that

   18      require further negotiation and further contracts do not

   19      create binding obligations.” Shann v. Dunk, 84 F.3d 73

   20      Second Circuit 1996, collecting cases on this point.           See

   21      also Brown v. Cara, 420 F.3d 148,153 Second Circuit 2005.

   22      (Noting that “Ordinarily where the parties contemplate

   23      further negotiations and the execution of a formal

   24      instrument, a preliminary agreement does not create a

   25      binding contract.”)

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    1                  (Quoting and citing Adjustrite Systems, Inc., v.

    2      GAB Business Services, Inc., 145 F.3d 543 548 Second Circuit

    3      1988.) “Parties can make preliminary agreements that only

    4      cover certain terms and that do bind the parties to engage

    5      in further discussions about open terms.” See Municipal

    6      Consultants & Publishers, Inc., v. Town of Ramapo, 47 New

    7      York 2d.144 (1979).

    8                  Judge Lavelle set forth a thoughtful discussion of

    9      these types of contracts in his decision in Teachers

   10      Insurance & Annuity Association v. Tribune Co., 670 F.

   11      Supp. 491 SDNY 1987, which is often cited as one of the

   12      leading decisions on this point.

   13                  In that decision, Judge Lavelle observed that “In

   14      seeking to determine whether a preliminary commitment should

   15      be considered binding, a court’s task is once again to

   16      determine the intentions of the parties at the time of their

   17      entry into the understanding as well as their manifestations

   18      to one another by which the understanding was reached.

   19                  Courts must be particularly careful to avoid

   20      imposing liability where a binding obligation was not

   21      intended.    There is a strong presumption against finding

   22      binding obligation in agreements which include open terms,

   23      call of future approvals, and expressly anticipate future

   24      preparation and execution of contract documents.

   25                  Nonetheless, if that is what the parties intended,

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    1      courts should not frustrate their achieving that objective

    2      or disappoint legitimately bargained contract expectations.

    3      Teachers Insurance & Annuit Association v. Tribune Co., 670

    4      F.Supp at 499.

    5                  Similar reservations have been expressed by the

    6      New York State Courts.     For example, in Kaplan v. Continuum

    7      Health Partners, Inc., No. 107226/2010, 2011, New York

    8      Miscellaneous Lexis 69 -- 6796, excuse me that *6, Supreme

    9      Court New York County, January 11, 2011.            The Court stated

   10      that, "As a general matter, courts express reluctance about

   11      the binding nature of letters of intent.            Preliminary

   12      agreements, such as a letter of intent or memorandum of

   13      understanding are not intended to bind either party to the

   14      contemplated transaction, except in rare circumstances where

   15      the agreement clearly manifests the intent to be bound.".

   16                  As with contracts generally, the determination of

   17      whether a binding preliminary or Type II agreement has been

   18      reached involves a determination as to the intent of the

   19      parties.    If, as noted above, the parties have clearly

   20      reserved the right not to be bound at all, unless and until

   21      a written agreement is signed, then that also precludes

   22      contentions that there is a Type II contract, and there is

   23      no contract at all, unless and until a written agreement is

   24      signed.

   25                  I will now turn to the evidence at trial.             At

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    1      trial on July 18, each party submitted a binder of exhibits

    2      and the full contents of the binders were admitted into

    3      evidence by agreement.     Landstar offered an additional

    4      binder, Landstar Exhibit 21, containing copies of other

    5      transfer notices that Whitebox had submitted in the

    6      Westinghouse case.

    7                  I ruled that these could be submitted in evidence,

    8      but that Whitebox would be granted additional time through

    9      5:00 PM on July 19, to state whether it had any objections

   10      to the authenticity of the documents included in the binder.

   11      Whitebox has confirmed that it has no authenticity

   12      objections, and so, Landstar Exhibit 21 is part of the

   13      record and the record was deemed to be closed at 5:00 PM on

   14      July 19, yesterday.

   15                  Four witnesses testified at the trial: The first

   16      witness was Mr. James Belardo of Seaport.           Mr. Belardo is

   17      the individual who engaged in the relevant communications

   18      with Landstar about this matter;

   19                  The second witness was Mr. Peter Lupoff.          Mr.

   20      Lupoff was presented as an expert witness as to the claims

   21      treating process;

   22                  The third witness was Ms. Dawn Bowers.          Ms. Bowers

   23      is an employee of Landstar who had communications with Mr.

   24      Belardo and who allegedly committed Landstar to an

   25      enforceable Type II contract with Whitebox;

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    1                  The fourth witness was Mr. Amit Patel.          Mr. Patel

    2      works for Whitebox Advisors and testified about his role in

    3      the transaction.

    4                  I have read and carefully considered all of the

    5      exhibits.    I note that multiple copies of email chains had

    6      been produced, but there are some differences in the chains,

    7      and some exhibits includes copies of emails that do not

    8      appear in other exhibits.

    9                  So with the assistance of my law clerk, Ms.

   10      Eisenberg, we have carefully combed through the exhibits to

   11      identify and chronologize all of the emails for the purpose

   12      of these findings.

   13                  I have also carefully listened to the witnesses'

   14      testimony at trial, and I have made assessments of their

   15      credibility.

   16                  I find the following facts based on the trial

   17      record: Mr. Belardo testified that he reviewed filed proofs

   18      of claim to identify parties who had filed claims, and then

   19      contacted them to determine if they would be willing to sell

   20      their claims.    Mr. Belardo contacted Ms. Bowers for this

   21      purpose by email on January 10, 2018.

   22                  The witnesses acknowledged that Mr. Belardo and

   23      Ms. Bowers did not know each other, had had no prior

   24      business dealings, and had not engaged in prior discussions

   25      with each other.

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    1                   In all of the discussions that follow, Mr. Belardo

    2      was acting on behalf of his client, Whitebox.        There is no

    3      contention that Mr. Belardo ever was an agent of Landstar or

    4      that he represented Landstar, and there was no evidence at

    5      trial that would have been sufficient to support a

    6      contention that Seaport acted for anyone other than

    7      Whitebox.

    8                   Mr. Belardo sent a follow-up email to Ms. Bowers

    9      on January 23, 2018, stating that he had a client,

   10      "interested in buying the unsecured claims in the 70s",

   11      meaning at a price equal to 70 plus percent of the stated

   12      amounts of the claims.     He asked if that, "sparks any

   13      interest".     And Ms. Bowers responded that same day by

   14      saying, yes, and by asking which claims the client might be

   15      interested in.     Mr. Belardo responded the client would be

   16      interested in all of Landstar's claims, and the parties

   17      arranged a call, in order to have a further discussion.

   18                   Ms. Bowers testified credibly that during their

   19      phone call, she told Mr. Belardo that she had authority to

   20      negotiate a price at which the Landstar claims might be

   21      sold, but that all other terms had to be reviewed and

   22      approved by legal counsel.

   23                   Mr. Belardo testified that he did not believe that

   24      Ms. Bowers made such a statement, but he also acknowledged

   25      that he did not have a full recollection of the details of

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    1      their calls.

    2                    I find that Ms. Bowers testimony on this point is

    3      credible, and I find that the statement was made.

    4                    Mr. Belardo then gave Ms. Bowers advice as to how

    5      she could initiate a potential sale.           By email on January

    6      24, 2018, he advised Ms. Bowers that, "In order to engage my

    7      client", he would need a "sell order" or "offer" end by

    8      email.      He also sent her the text of a typical sell order.

    9      See Defendant's Exhibit 1.

   10                    The language that Mr. Belardo suggested stated

   11      that, "Landstar agrees to sell its unsecured claims against

   12      Westinghouse," with the amounts of the claims and the

   13      percentage sale price to be filled in by Ms. Bowers.           The

   14      form suggested by Mr. Belardo also said that, "This offer

   15      shall be subject to agreement of terms and conditions and

   16      execution of documentation by both buyer and Landstar."              It

   17      also included language pursuant to which the offer would

   18      expire if not accepted by a particular time.

   19                    Ms. Bowers talked to her superior about the form

   20      of the proposed sell order that Mr. Belardo had sent.           Ms.

   21      Bowers testified credibly that she and her superior were

   22      comfortable; that the language that Mr. Belardo had sent,

   23      including, in particular, the statement that the offer was

   24      subject to an agreement on terms and the execution of

   25      documentation, meant that Landstar would not be bound unless

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    1      and until a written contract was executed; that, among other

    2      things, met with the approval of Landstar's internal

    3      counsel.

    4                   Based on my own questions to Mr. Belardo at trial,

    5      I find that he, too, understood the subject to language to

    6      have this meaning and effect.        Whitebox elicited general

    7      testimony from Mr. Belardo, that he felt that parties should

    8      negotiate in good faith once they reached conceptual

    9      agreement on price.     However, he acknowledged he did not

   10      know if there was such a legal obligation.

   11                   More importantly, when I asked him specifically

   12      about the fact that the offer language he had sent to Ms.

   13      Bowers was "subject to" execution of a written agreement, he

   14      acknowledged that the words "subject to" meant that there

   15      was no deal unless and until a written agreement was signed.

   16                   After her discussion with her superior, Ms. Bowers

   17      sent an email to Mr. Belardo that stated in full as follows:

   18                   "Landstar agrees to sell its unsecured claims

   19      against Westinghouse in the total amount of $754,470.56 at

   20      78 percent; this officer shall be subject to agreement of

   21      terms and execution of documentation by both buyer and

   22      Landstar.     This offer shall be exclusive to Seaport and its

   23      client, but shall expire at 3:00 PM on 1/24/18."            This email

   24      was sent on January 24, 2018 at 10:45 AM.           See Defendant's

   25      Exhibit 2.

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    1                  Mr. Belardo then sent Ms. Bowers an email at 11:00

    2      AM, stating that he had, "A few questions on the claim

    3      amount," and asking Ms. Bowers to give him a call.          Ms.

    4      Bowers testified that she believes that she and Mr. Belardo

    5      discussed the sizes of the Landstar claims, and that she

    6      believes there were some questions about the amount of the

    7      Landstar Logistic claims and whether that filed claim

    8      different from the amount that Westinghouse had listed on

    9      its schedules of assets and liabilities.

   10                  She also testified that Mr. Belardo asked if

   11      Landstar could support the amount of the filed claims, and

   12      Ms. Bowers testified that it could.

   13                  I should note that the record was not crystal

   14      clear as to whether these particular points were discussed

   15      during a phone call that occurred prior to sending the so-

   16      called offer or whether they occurred after Mr. Belardo sent

   17      his request for a further call about the claims themselves.

   18      The emails suggest that there were two calls, but the

   19      witnesses did not appear to recall for certain how many

   20      calls they had or when each statement was made.

   21                  In context, however, it makes sense that the

   22      conversation about the claims happened after Mr. Belardo

   23      sent his email at 11:00 AM stating that he had questions on

   24      the claim amounts.     If the discussion had already happened

   25      before the sell offer was sent, then, presumably, Mr.

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    1      Belardo would not still have had questions.

    2                   I find that these parts of Mr. Belardo's and Ms.

    3      Bowers' discussions took place after the "sell order" had

    4      been sent.

    5                   During their second call after the sell order had

    6      been sent, Mr. Belardo noted that one of the Landstar claims

    7      had been filed in an amount that exceeded $700,000, but that

    8      the Debtor's schedules of assets and liabilities had listed

    9      only a small amount of about $81,000.           Ms. Bowers explained

   10      the reasons why she thought the filed amount was valid.             She

   11      testified that she believes Mr. Belardo asked her whether

   12      Landstar could support the claim and that she testified that

   13      she thought it could.     Mr. Belardo then spoke to others at

   14      Seaport about the potential sale.

   15                   The record shows that at 11:28:17 AM on January

   16      24, Rick Feinstein, another Seaport employer, sent a

   17      Bloomberg instant message to representatives of Whitebox,

   18      noting the potential sale of a, "754k Westinghouse claim"

   19      for which, "my cost", that is, the cost without Seaport's

   20      commission, would be 78 percent.

   21                   The record shows that Mr. Feinstein did not

   22      participate in any of the phone calls with Ms. Bowers.             He

   23      said in his instant message, though, that there was

   24      potential, "counterparty risk" since the scheduled amount of

   25      the debt differed from the filed claim, and he described the

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    1      explanation that had been provided by Landstar.

    2                   Mr. Feinstein also stated in his email that, "They

    3      are willing to provide recourse as to the $754k as they are

    4      very confident.     They would not want funding based on $80k.

    5      It is a public company, so should be easy to review

    6      financials."

    7                   It is difficult to know exactly where Mr.

    8      Feinstein got the information that he gave to Whitebox.            Mr.

    9      Feinstein did not participate in the calls between Ms.

   10      Bowers and Mr. Belardo.     Ms. Bowers testified that there was

   11      a discussion about the claim amount, but that there was

   12      never any discussion of an agreement pursuant to which

   13      Landstar would provide recourse as to the notional amount of

   14      the claim.     In addition, she testified that there was never

   15      any discussion as to whether Landstar would pay interest on

   16      any recourse payment.

   17                   Mr. Belardo testified that he believed he had told

   18      Ms. Bowers that Landstar would have to make representations

   19      about the validity of the claims, but he said he did not

   20      have a clear recollection of the conversation.

   21                   More importantly, no testimony was offered from

   22      Mr. Belardo to the effect that Ms. Bowers, or anyone else at

   23      Landstar, had actually made the statement that appears in

   24      Mr. Feinstein's email about a willingness to provide

   25      recourse for the -- as to the claims.

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    1                    To the contrary, Ms. Belardo testified that she

    2      never had a conversation -- or excuse me.            To the contrary,

    3      Ms. Bowers testified that she never had a conversation with

    4      Mr. Belardo about providing recourse for the claims.

    5                    I find that Ms. Bowers testified on this point was

    6      credible.      There is nothing in the testimony of Mr. Belardo

    7      and Ms. Bowers that would support a contrary finding.               Ms.

    8      Bowers testified consistently that she was only willing and

    9      able to discuss the price at which claims might be sold, and

   10      that she had no authority and could not enter into

   11      negotiations as to any other terms.

   12                    I find, therefore, that in their conversations,

   13      Ms. Bowers did not state that Landstar would provide

   14      recourse of the claims.      Instead, as she acknowledged, she

   15      only expressed confidence that the claims were good.

   16                    After receiving Mr. Feinstein's message, Mr. Patel

   17      of Whitebox asked for copies of the relevant proofs of

   18      claim.      At 11:33:33 AM on January 24, he also asked, "How

   19      much interest on disallowance can they live with?"            Mr.

   20      Friedberg, another Seaport employee, responded, "Dunno, 5-6

   21      percent."      Mr. Patel responded, "That's fine," and "Let's

   22      lock it up."      See Defendant's Exhibit 14.

   23                    One thing on which the parties do agree is that

   24      Mr. Belardo and Ms. Bowers had not had any discussions about

   25      the possibility that Landstar would pay interest on a

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    1      recourse claim.     Both Mr. Belardo and Ms. Bowers so

    2      testified.

    3                   In some way that is not clear from the record, Mr.

    4      Patel's interest in pursuing your purchase of the claim was

    5      communicated to Mr. Belardo.

    6                   At this point, Mr. Belardo responded by email to

    7      the sell offer that Ms. Bowers had sent.            He did not simply

    8      accept the deal on the precise terms that Ms. Bowers had

    9      listed in the email form that he himself had previously

   10      provided to her.     Instead, he sent an email at 11:42 AM that

   11      said, in its entirety, the following:

   12                   This email confirms that we are "done".         Seaport's

   13      client, "buyer" buys, and Landstar's "seller" sells,

   14      $754,470.56 of unsecured claims against Westinghouse at 78

   15      percent, subject to: and then three bullet items were

   16      listed.     First, agreement of terms and execution of

   17      documentation agreeable to both buyer and sell Landstar.

   18      Second, buyer's satisfactory due diligence on the claims

   19      being sold.     And the third bullet item, Landstar providing

   20      recourse as to the notional amount of the claims; any

   21      repayment under such provision shall include 5 percent

   22      interest."

   23                   The message continued: "Please respond to this

   24      email in the affirmative confirming the above, after which I

   25      will provide a Trade Confirmation for your review.            We very

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    1      much look forward to working with you on this."          See

    2      Defendant's Exhibit 8.

    3                   As I noted, Mr. Belardo himself had drafted the

    4      sell order that Ms. Bowers had sent.          That sell order

    5      included no reference to any protection as to the notional

    6      amounts of the claims and no reference to any requirement

    7      that a recourse payment would include interest of any

    8      amount.     These were new terms that Seaport included in the

    9      email that it sent on behalf of Whitebox, after it had

   10      conversations with Landstar about the disparity between the

   11      filed amount and the scheduled amounts and after different

   12      personnel at Whitebox -- excuse me -- at Seaport had

   13      discussion with Mr. Patel about potential interest paid.

   14                   Furthermore, Mr. Belardo made quite clear in his

   15      email that the 78 percent purchase price was only

   16      acceptable, "subject to" the other listed terms, including

   17      the requirement that Landstar provide recourse and agree to

   18      pay interest on any recourse payment.

   19                   There was no unequivocal acceptance of the sale

   20      offer, as set forth by Ms. Bowers.          Instead, there was only

   21      a conditional response, which included new terms, and which

   22      clearly communicated that an agreement on the purchase price

   23      was, "subject to" these other terms.

   24                   Ms. Bowers did not respond in the affirmative to

   25      Mr. Belardo's email.     Instead, within six minutes, she

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    1      responded with a statement of concern and a request for

    2      reassurance.     More particularly, she said the following in

    3      an email at 11:48 AM:

    4                  "James, I just want to get some clarity here.          Why

    5      am I agreeing to the terms below?         Does this commit Landstar

    6      to the deal before we see the actual trade confirmation?            My

    7      legal department will need to review any documents that need

    8      to be signed."

    9                  The parties disagree as to the significance of

   10      this statement and what it meant.         I find, after considering

   11      the evidence and the credibility of the witnesses, that this

   12      was a plain statement by Ms. Bowers that Landstar did not

   13      wish to be bound right away and did not wish to be bound

   14      unless and until there was a written agreement that had also

   15      been reviewed and approved by counsel and then signed.

   16                  I find that Ms. Bowers intended the message in

   17      this way, that the message fairly communicates that intent,

   18      and that Mr. Belardo understood the message in this way.

   19      The statement was a forthright, reasonable and clear notice

   20      to Seaport that Landstar did not intend to be bound, unless

   21      and until a signed written agreement had been presented, the

   22      language and all of the terms were approved by counsel, and

   23      the writing had been executed.

   24                  Mr. Belardo responded in an email at 12:06 PM on

   25      January 24.    He stated: "This commits both you (and my

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    1      client) to the 78 percent purchase price, subject to -- and

    2      then there's an italicized phrase -- agreement of terms and

    3      execution of documentation -- end of the italics.           We just

    4      want to make sure we are all conceptually on the same page

    5      regarding terms before spending additional efforts

    6      (including time/money on attorneys) reviewing/negotiating

    7      the Trade Confirm.      Of course, you will need to agree to,

    8      and ultimately execute, both a Trade Confirmation and then

    9      an assignment of claim document."

   10                    Whitebox argues that this statement was intended

   11      to convey that a legally binding agreement was now in place

   12      as to a sale at the stated price, coupled with a binding

   13      agreement that the parties would negotiate the rest of the

   14      terms.      Certainly, the statement that the email "commits"

   15      the parties to a purchase price provides some support for

   16      this contention.

   17                    In context, however, I find that Whitebox's

   18      argument is not a credible or reasonable explanation of the

   19      email exchange.      What Landstar plainly asked and what it

   20      plainly wanted to confirm was that Landstar was not bound to

   21      a deal unless and until a written confirmation was reviewed

   22      and signed.

   23                    Seaport's reassurance in response to Landstar's

   24      expression of concern was that the concept of a deal had

   25      been discussed and that Seaport wanted to be sure the

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    1      parties were "conceptually" on the same page before working

    2      out the full terms.

    3                   Seaport also reassured Ms. Bowers in an italicized

    4      statement that any commitment to a price was "subject to

    5      agreement of terms and execution of documentation."

    6                   Saying that a deal is subject to documentation may

    7      not always mean that the parties agree that they are not

    8      bound and unless and until a written agreement is signed.

    9      But in this case, I find that that is exactly what the

   10      statement conveyed, and that is exactly what the statement

   11      was intended to convey to Ms. Bowers.

   12                   Landstar expressed its concern and the response

   13      was that there was only a conceptual understanding that was

   14      subject to further discussion, documentation and agreement.

   15                   Whitebox's contention that somehow this statement

   16      confirmed the actual existence of a binding agreement is

   17      belied by the full context and the wording of the exchanges.

   18      In fact, the statement was intended to, and it did, convey

   19      to Ms. Bowers that there was no binding agreement at that

   20      time of any kind.

   21                   After receiving Mr. Belardo's email, Ms. Bowers

   22      responded by an email at 12:11 PM.            She stated, "Sounds

   23      good.     Please send the documents so I can get the review

   24      period stated."

   25                   There was some contention at trial that the

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    1      "sounds good" statement was an acceptance of Mr. Belardo's

    2      proposal; in context, it very plainly was not.        The thing

    3      that "sounded good" to Ms. Bowers was that this was just a

    4      conceptual set of terms that were not yet binding.          She made

    5      quite clear that she did not have authority to agree to the

    6      additional terms that had been proposed, that she would not

    7      be the one who would negotiate them, and that such terms

    8      required review and discussion by counsel.

    9                  In addition, Whitebox also acknowledged at trial

   10      that there never was an agreement on the recourse provision.

   11      Plainly, it cannot contend that the sounds good statement

   12      was an acceptance of the proposed recourse provision because

   13      Whitebox itself acknowledges that that term was never agreed

   14      to.

   15                  A draft confirmation was then circulated by

   16      Seaport.    The confirmation itself said it would be effective

   17      and would be binding after it had been executed by the

   18      parties.    At that point, Landstar's internal counsel got

   19      involved to discuss the confirmation, and more particularly,

   20      the proposed recourse provisions.

   21                  Ms. Bowers testified that she had no further

   22      involvement in the discussions and that counsel was in

   23      charge of those items.

   24                  The emails reflect that there were discussions and

   25      that Seaport pressed Landstar for comments on the draft

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    1      confirmation.    Instead, however, Michael Woodruff, an

    2      internal counsel at Landstar, informed Mr. Belardo via email

    3      on January 26 at 2:31 PM that, "Landstar is going to have to

    4      remove itself from this offering at this time."          The email

    5      was some cryptic as to the reasons.          It stated only that,

    6      "We did a risk analysis and the figures and calculations

    7      didn't work for us."

    8                  However, at trial, Whitebox's counsel elicited

    9      testimony from Ms. Bowers about her conversations with

   10      counsel.    And she stated that counsel had explained that the

   11      proposed recourse and interest provisions were the reasons

   12      why Landstar had decided not to go forward.

   13                  I should note that at various times during the

   14      trial, Whitebox speculated that Landstar might have backed

   15      out of the deal for another reason, such as the possibility

   16      that claims values were going up in the trading market, but

   17      no evidence was offered that claims values actually changed

   18      or that Landstar was aware of any change in claims values,

   19      and there was absolutely no evidence that concerns over the

   20      78 priced -- 78 percent price were the reasons why the deal

   21      fell apart.

   22                  The only evidence presented to me was that

   23      Landstar did not wish to agree to the proposed recourse

   24      terms and to the proposed agreement to pay interest on any

   25      recourse payment.    And I find that these reasons, and not

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    1      any speculative alternative reasons, were the reasons why

    2      Landstar decided not to go forward.

    3                   Whitebox offered testimony as to what it believed

    4      are certain customs in the claims trading business.            But

    5      rather than review that evidence here, I will discuss it in

    6      the context of my application of the governing law to the

    7      facts as I have found them.

    8                   Turning to the application of the law to the

    9      facts: first, I conclude that there never was a binding

   10      offer and acceptance sufficient to create a contract of any

   11      kind.     Mr. Belardo himself drafted the offer to be sent by

   12      Ms. Bowers.      It mentioned only a price at which the relevant

   13      claims would be sold.       Mr. Belardo then realized that there

   14      might be some risk as to allowance of the full stated amount

   15      of the claims.      And so, when he responded on behalf of

   16      Whitebox, he inserted a new term that he himself had never

   17      included in the offer form that he had drafted.           That term

   18      was a requirement that Landstar provide recourse as to the

   19      notional amount of the claim.

   20                   In addition, Mr. Belardo's response stated that

   21      Whitebox's willingness to buy the claims was subject to an

   22      agreement that 5 percent interest be paid on any recourse

   23      payment.     The parties agree that there was never any prior

   24      discussion of that notion.

   25                   In context, this was a counteroffer, not an

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    1      unequivocal acceptance of the offer that Ms. Bowers made.

    2      It introduced new terms and expressly conditioned an

    3      agreement on price to an agreement on these other terms.

    4                  At the conclusion of the trial on July 18, I asked

    5      the parties to make further submissions to the Court on the

    6      issue of whether Mr. Belardo's email should be considered a

    7      counteroffer rather than an acceptance, and the parties made

    8      those submissions at approximately 5:00 PM yesterday.

    9                  In its submission, Whitebox did not dispute the

   10      general rules that I have decided above.            However, Whitebox

   11      argued that the recourse provisions were not really new

   12      conditions; that, instead, they were merely terms that,

   13      "would otherwise be implied in fact or in law from the

   14      offer," citing Richard A. Lord, Williston on Contracts,

   15      Section 6:15 (4th Edition, 2002).

   16                  Whitebox's theory is that the recourse provision

   17      was not a new term at all, but that a recourse provision was

   18      necessarily implicit in the offer that Ms. Bowers had sent.

   19      Whitebox also argued, in the alternative, that the recourse

   20      language was inconsequential and not significant enough to

   21      turn its alleged acceptance into a counteroffer.

   22                  However, the evidence at trial simply does not

   23      support Whitebox's contentions.        First, the parties made

   24      clear at trial that buyers of claims often ask for recourse

   25      provisions, but Ms. Bowers plainly was not a professional

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    1      buyer or seller of claims.

    2                   There's no evidence that she understood the

    3      concept of a recourse provision at all.               That may not have

    4      seemed unusual to Whitebox or Seaport, but it certainly was

    5      unusual to Ms. Bowers and to Landstar, and there had not

    6      even been any discussion of the point at the time Ms. Bowers

    7      sent her sell order.

    8                   Under those circumstances, the facts simply would

    9      not support a finding that a recourse term was implied in

   10      fact or implied in law in the offer that Ms. Bowers had

   11      sent.

   12                   The witnesses at trial also made clear that while

   13      recourse provisions are usually negotiated, there are many

   14      occasions in which parties do not include recourse

   15      provisions in their deals.        Furthermore, the interest

   16      provision had never been discussed.            And certainly, there is

   17      nothing in the offer to sell that implicitly suggests that

   18      interest will be paid on a recourse obligation, let alone as

   19      to a particular interest rate.

   20                   I should also note there that although Whitebox

   21      initially took the position that there was a full agreement

   22      on terms, at trial, it agreed that there never was an actual

   23      agreement as to the recourse provision.               Its contention was

   24      that Landstar had breached an obligation to have further

   25      discussions about the point.         Whitebox went so far as to

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    1      admit that if the parties had not reached agreement on the

    2      recourse issue after good faith discussions, then there

    3      would have been no deal and that Landstar could have walked

    4      away.

    5                   Whitebox cannot reconcile those concessions with

    6      its current contention that the recourse provision was

    7      merely a point that was already clear and implicit in the

    8      sell order as either an implied in fact or an implied in law

    9      term.

   10                   Whitebox, in its own contentions about the alleged

   11      Type II contract, has acknowledged and agreed that the

   12      recourse items were open terms that had not been agreed upon

   13      and that required further negotiation and agreement.

   14                   If I were to accept Whitebox's new contention that

   15      these terms were already implicit and necessarily had

   16      already been included in the sell order itself, that would

   17      contradict Whitebox's own arguments and admissions about the

   18      alleged Type II agreement and about the consequences of the

   19      parties' exchanges.

   20                   Whitebox has clearly acknowledged that the

   21      recourse items were open points about which no agreement was

   22      reached; that cannot now turn around and argue after trial

   23      that they were implied points that were already necessarily

   24      resolved and already agreed upon back when the original

   25      offer was sent.      Nor is there any factual support for

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    1      Whitebox's alternative contention that these new terms were

    2      not important conditions or qualifications.

    3                   Whitebox's own witnesses, including its expert

    4      witness, testified that a recourse provision is of key

    5      importance to a buyer.     The expert testified that he would

    6      usually recommend against doing a deal without such a

    7      provision.

    8                   I, therefore, find and hold that Seaport's

    9      response to Ms. Bowers' email was a counteroffer, not an

   10      acceptance.

   11                   As I noted earlier, at trial, there was some

   12      suggestion that Ms. Bowers had accepted the counteroffer

   13      when she responded by email, sounds good.           But in context,

   14      as I have held, what she actually sought to confirm and what

   15      was actually communicated to her by Mr. -- that was actually

   16      communicated by her to Mr. Belardo was that there was no

   17      legal commitment at that time and that further terms were to

   18      be discussed.

   19                   And Whitebox, as I have noted in making its own

   20      Type II contract argument, contends only that there was an

   21      agreement on price and not an agreement on other terms.

   22                   As a counteroffer, Mr. Belardo's email cancelled

   23      and nullified the original offer sent by Ms. Bowers.

   24      Landstar was free either to accept or reject the

   25      counteroffer.     It never accepted it, and after two days of

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    1      discussions, it made clear that it rejected the

    2      counteroffer.    As a result, there was no contract.

    3                  Whitebox, in arguing that a Type II contract was

    4      formed, also asks me, in effect, to deconstruct the

    5      counteroffer into separate pieces.          It says that since the

    6      price was the same in both the offer and the counteroffer, I

    7      should treat the counteroffer as an acceptance of the posed

    8      price and as a preliminary agreement to negotiate other

    9      terms.

   10                  However, it is often the case that there is an

   11      overlap between an offer and a counteroffer.          I could offer

   12      to sell my car for $3,000, and I might receive a

   13      counteroffer that says the buyer is willing to pay $3,000,

   14      so long as I agree to pay any repair expenses that the buyer

   15      incurs over the next year.      Plainly, that is a counteroffer,

   16      not an acceptance.     The price mentioned in the two

   17      communications is the same, but the law does not treat that

   18      as an acceptance or as a preliminary agreement that

   19      obligates the parties to have further discussions.

   20                  The notion that a Type II contract was formed

   21      depends on a contention that the parties actually agreed:

   22      one, to be legally bound by certain terms; and two, to work

   23      together in good faith on other open items.

   24                  The message sent by Mr. Belardo cannot reasonably

   25      be interpreted as an offer to form such a contract.          It did

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    1      not say, for example, that the buyer agrees to pay the price

    2      Mr. -- Ms. Bowers suggest, so long as the parties commit

    3      themselves in good faith to negotiate other terms.          Even

    4      that would have been a counteroffer, though it would have

    5      been one that, if accepted, might have created a Type II

    6      contract.

    7                  Here, the actual wording of the message sent by

    8      Mr. Belardo defies Whitebox's contention that a Type II

    9      contract was even offered, let alone reached.        The email

   10      stated that Whitebox's agreement to pay a particular price

   11      was subject to other terms that were set forth.         It was not

   12      an offer to be bound by a price term, coupled with a

   13      commitment to negotiate other provisions.

   14                  By its express terms, it was an offer to accept

   15      the price if -- and only if -- another particular term were

   16      included in the deal.     By its terms, the deal was presented

   17      as a package, not as a partial agreement to one term, to be

   18      followed by a negotiation of other terms.

   19                  Whitebox also argues that the customer had

   20      practice in the claims trading business is that when parties

   21      have reached an agreement on price, they understand that

   22      they should negotiate in good faith on other terms.

   23                  This testimony was extremely vague and self-

   24      serving.    It described the general practices of traders who

   25      regularly deal with each other in this field, but it stopped

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    1      far short of showing that parties customarily understand

    2      that they have made legally binding Type II contracts

    3      whenever they agree on price and regardless of whether other

    4      terms have been proposed.

    5                  I am particularly concerned about this contention,

    6      because in other reported cases, parties in this same

    7      industry have taken very different positions as to what the

    8      alleged revealing customs are in the industry and as to

    9      whether people in the industry believed that any agreement

   10      of any kind is formed in the absence of a signed contract.

   11                  In fact, an affiliate of Seaport has itself

   12      successfully argued in New York State Court that a stock

   13      trade had no binding effect of any kind because the trade

   14      communications said that the deal was "subject to" the

   15      execution of written documents.        The State Court case is

   16      Luxor Capital Group, L.P. v. Seaport Group, LLC.            The Trial

   17      Court decision is reported at 2016 New York Misc. Lexis 1454

   18      (April 15, 2016) and the decision on appeal is reported at

   19      148 A.D. 3rd 590 (2017).      I will have more to say about that

   20      decision in a few minutes.

   21                  I reject the contention that there is a custom in

   22      the industry to the effect that communications of the type

   23      that occurred here purportedly give rise to enforceable

   24      obligations or to partial binding agreements on terms.              The

   25      vague testimony at trial did not support the existence of

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    1      any such custom.

    2                  Furthermore, custom is relevant to the extent that

    3      it provides evidence of what a party intends.        There is no

    4      evidence that Ms. Bowers or anyone else at Landstar had any

    5      familiarity with the alleged customs of people who more

    6      regularly deal with each other in the trading of claims.

    7                  If claims traders want their customs to be binding

    8      when they deal with non-professionals like Ms. Bowers, it is

    9      incumbent on them to set forth the terms in a clear and

   10      unequivocal way.    Contracts are supposed to be matters of

   11      voluntary agreement; they are not supposed to be traps for

   12      the innocent and unwary.

   13                  Accordingly, if Seaport had intended that there be

   14      a binding Type II contract, it could and should have clearly

   15      and explicitly asked Landstar to confirm that the parties

   16      had an enforceable agreement as to price and that the

   17      parties were entering into a binding and enforceable

   18      agreement to negotiate other terms in good faith.

   19                  Perhaps Seaport does not use such language because

   20      it thinks sellers, such as Landstar, would be scared off by

   21      it.   But if a party would not have agreed to an explicit

   22      agreement of the kind alleged, then a court certainly should

   23      not impose such terms after the fact.

   24                  In any event, I find that the alleged customs are

   25      not sufficient to override the plain meaning and effect of

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    1      the communications that the parties actually had in this

    2      case.     Seaport's response was a counteroffer that was never

    3      accepted, and there is nothing in the purported customs in

    4      the industry that supports giving the communications a

    5      different legal effect.

    6                   Second, and as an independent reason why no

    7      binding contract was formed, I find, based on the evidence,

    8      that no contract of any kind could have been formed because

    9      Landstar, through Ms. Bowers, had clearly indicated its

   10      intention not to be bound to any term, unless and until a

   11      full written agreement on all terms was signed and executed.

   12                   As I mentioned earlier, courts have identified

   13      four factors to be considered in determining whether a party

   14      has an expressed an intention not to be bound in the absence

   15      of a written agreement.       The factors are: one, whether there

   16      is an expressed reservation of the right not to be bound in

   17      the absence of a writing; two, whether there has been

   18      partial performance of the contract; three, whether all

   19      terms of the alleged contract have been agreed upon; and

   20      four, whether the agreement at issue is the type of contract

   21      usually committed to writing.          See, for example, Winston v.

   22      Mediafare Entertainment Corp., 777 F.2nd 7880 (2nd Circuit,

   23      1986).

   24                   These factors differ slightly when parties contend

   25      that a Type II contract had been reached.             In such a case,

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    1      the third factor listed in Winston, i.e., whether all terms

    2      have been agreed upon, will always involve a situation in

    3      which all the terms exist.      But, otherwise, the factors are

    4      quite similar.

    5                  A court should consider: (a) whether the intent to

    6      be bound on a partial or preliminary basis is revealed by

    7      the language of the agreement; (b) the context of the

    8      negotiations; (c) the existence of open terms; (d) partial

    9      performance; and (e) the necessity of putting the agreement

   10      in final form, as indicated by the customary form of such a

   11      transaction.     See Brown v. Cara, 420 F.3d, 148-157 (2nd

   12      Circuit, 2005).

   13                  As to the first factor, I find that there was a

   14      clearly expressed reservation of a right not to be bound,

   15      either in full or to a partial set of terms, and the absence

   16      of the execution of a written contract.             As I have noted, I

   17      find that the whole purpose and the understood intent of Ms.

   18      Bowers emails to Mr. Belardo after receiving his

   19      counteroffer was to reconfirm what she had previously said

   20      orally; namely, that the completion of a deal required the

   21      approval of other people, including internal lawyers, and

   22      that there would be no agreement unless and until a written

   23      contract was signed.

   24                  I find that this position was communicated orally

   25      to Mr. Belardo prior to the time when Ms. Bowers sent the

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    1      sell order that Mr. Belardo had drafted.            I find that Ms.

    2      Bowers clearly confirmed it in the email exchanges with Mr.

    3      Belardo, in which she asked him to clarify that Landstar

    4      would not be bound, and in which he responded that there was

    5      just "conceptually" on agreement on price, that "of course"

    6      was subject to further agreements on terms and entry into

    7      written agreements.

    8                  I also find that in this particular case, both

    9      parties understood that the language in the offer that Mr.

   10      Belardo drafted, to the effect that the offer and any

   11      agreement would be "subject to" an agreement on terms and

   12      execution of a written contract was an explicit reservation

   13      of a right not to be bound at all, unless and until a

   14      written agreement was signed.

   15                  On this particular point, Whitebox has argued

   16      that, as a matter of law, I should treat the subject to

   17      language as though it had no particular effect, or at least

   18      only limited effect.     In support of that proposition,

   19      Whitebox has cited to the decision by the New York Court of

   20      Appeals in Stonehill Capital Management, LLC v. Bank of the

   21      West, 28 NY 3d. 439 (2016).

   22                  In that case, a party conducted an auction sale of

   23      a syndicated loan.     The auction terms stated that a buyer

   24      would be required to execute a purchase agreement in a form

   25      that was provided with the auction terms.            The auction terms

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    1      also stated that bids would be fully binding offers and

    2      would be fully binding when accepted.

    3                   A bid was submitted and then accepted.           However,

    4      the written acceptance said that the bid was accepted,

    5      "subject to mutual execution" of an acceptable sale

    6      agreement.     The seller then later sought to back out of the

    7      deal.

    8                   In Stonehill, the Court held that the acceptance

    9      of an auction bid usually forms a binding contract, that the

   10      offering memo for the auction said explicitly that bids were

   11      non-contingent, final and binding officers, and told bidders

   12      they would be required to execute a sale agreement in a

   13      specified previously disclosed form.            It also found that the

   14      parties' correspondence indicated that they understood that

   15      a binding deal was in place after the auction was finished.

   16                   In light of these facts, the Court held that under

   17      the "totality of the circumstances" of that particular case,

   18      the seller's reference to the "mutual execution" of an

   19      agreement was not enough to avoid the contract.            Given that

   20      the terms of the sale had been preset and that parties had

   21      effectively been told that a binding contract would be

   22      formed when a bid was accepted, the Court held that the use

   23      of the subject to language in that particular case was not

   24      enough to show that the parties did not intend to be bound.

   25                   Importantly, the Court noted that accepting the

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    1      seller's view of the significance of that language would

    2      have contradicted other terms of the auction.         It would have

    3      meant that the auction was not final and binding; whereas,

    4      the auction terms had explicitly said otherwise.

    5                  In Stonehill, the Court of Appeals cited the three

    6      other decisions.    The first was Emigrant Bank v. UBS Real

    7      Estate Securities, Inc., 49 A.D. 3rd, 382 (2008).           Emigrant

    8      Bank also involved an accepted auction bid on the sale of a

    9      mortgage loan portfolio.      The bid form that was submitted

   10      said that a sale was "subject to a mutually acceptable

   11      purchase and sale agreement, which will be subject to

   12      negotiation but substantially in the form of the agreement

   13      posted to the bidding website.

   14                  The buyer added as a condition that, "a mutually

   15      acceptable mortgage loan sale and servicing agreement will

   16      be negotiated in good faith.

   17                  The Court in Emigrant held that a motion to

   18      dismiss should have been denied.         As in the context of that

   19      particular case, the subject to language did not

   20      unmistakably and automatically and as a matter of law

   21      condition an agreement on the execution of a definitive

   22      contract.

   23                  The second decision cited in Stonehill was Bed

   24      Bath & Beyond, Inc. v. Ibex Construction, LLC, 52 A.D. 3rd

   25      413 (2008).    In Bed Bath & Beyond, the Court held that a

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    1      letter of intent in connection with a construction project

    2      was a binding agreement.

    3                  While the language of the letter of intent was not

    4      quoted in the opinion, the Court held that the plain

    5      language of the letter of intent manifests the parties'

    6      intent to be bound by its terms.

    7                  Since other terms plainly manifested that intent,

    8      the use of "subject to language" elsewhere in the agreement

    9      did not, in that particular case, amount to an express

   10      reservation of a right not to be bound or a condition

   11      precedent to the contract.

   12                  The third cited decision in Stonehill was Eastern

   13      Consolidated Properties, Inc. v. Morrie Golick Living Trust,

   14      83 A.D. 3d 534 (1st Department, 2011).              In that case, a

   15      broker contended that it had obtained a buyer who was ready,

   16      willing and able to buy a property.          However, the deal memo

   17      between parties stated that it was subject to the signing of

   18      a mutually agreeable contract of sale.

   19                  The Court held, on the strength of this language,

   20      that the deal memo was "a classic example of an agreement to

   21      agree" that did not constitute a binding contract of any

   22      kind and that did not trigger any duty of good faith

   23      negotiation and that, in light of the language, there was no

   24      triable issue of fact.

   25                  Given these three cases cited with approval in

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    1      Stonehill, and in particular, Stonehill's citation to the

    2      Eastern Consolidated Properties decision, the Stonehill

    3      decision simply cannot reasonably be read as a general

    4      ruling that the "subject to" language as either meaningless

    5      or of no import.

    6                  In fact, there is an extremely long line of

    7      decisions in both the State Courts and the Federal Courts

    8      that have relied on such "subject to" language, as clearly

    9      indicating that parties have reserved a right not to be

   10      bound in the absence of a fully negotiated and executed

   11      written contract.

   12                  Just a partial list of these cases includes the

   13      following: Tebbutt, T-E-B-B-U-T-T, v. Niagara Mohawk Power

   14      Corp., 508 NYS 2nd 69 at 1986 (acceptance of a purchase

   15      offer "subject to agreement on the terms of this sale,"

   16      coupled with a statement that if the terms were

   17      satisfactory, "we can proceed to prepare whatever contract

   18      documents may be required," indicated without room for

   19      dispute that the parties only intended to be bound if and

   20      when a written agreement was executed).

   21                  Reprosystem, BV v. SCM Corp., 727 F.2d 257 262

   22      (2nd Circuit 1984) (an intent not to be bound in the absence

   23      of a written agreement was "conclusively established" when

   24      the proposed contracts stated that agreements would be

   25      binding "when executed and delivered").

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    1                  RG Group, Inc. v. Horn & Hardart Co., 751 F.2nd 69

    2      (2nd Circuit 1984) (no written agreement where a draft

    3      contract said it would be binding "when duly executed.").

    4                  Adjustrite Systems v. JAB Business Services, 145

    5      F.3d 543 (2nd Circuit 1997) (where the parties signed a two-

    6      page agreement regarding a sale of assets, which provided

    7      for the execution of a "sales agreement contract", as well

    8      as other agreements that never were executed, the two-page

    9      agreement was not a binding agreement but was just an

   10      unenforceable agreement to agree).

   11                  Missigman, M-I-S-S-I-G-M-A-N v. USI Northeast

   12      Inc., 131 F.Supp. 2nd 495 510 (SDNY 2001) (finding no

   13      contract where an agreement was "subject to the execution of

   14      an employment agreement").

   15                  Angelo Gordon & Company, L.P. v. Dycom Industries,

   16      2006 US District Lexis 15784 (SDNY March 31, 2006) (where a

   17      trade confirmation stated that it would be binding "upon

   18      execution" by both buyer and seller, the Court concluded

   19      that the parties did not intend to be bound without a signed

   20      written agreement).

   21                  DCR Mtge. VI Sub 1, LLC v. People's United

   22      Financial, Inc., 148 A.D. 2nd 986 987 (2nd Department 2017)

   23      (no contract or an agreement was "subject to negotiation of

   24      the mutually agreed upon loan sale agreement").

   25                  Hawkins v. Medapproach Holdings, Inc., 2018 U.S.

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    1      District Lexis 43500 at Star 3-4 (SDNY March 15, 2018)

    2      (finding no intent to be bound where a proposed agreement

    3      stated that it was "subject to attorney review and

    4      discussion").

    5                   Perhaps most remarkable of all in this particular

    6      regard is the decision in the New York State Courts in 2017

    7      in the lawsuit involving an affiliate of Seaport that I have

    8      referred to earlier.     The case name is Luxor Capital Group,

    9      L.P. v. Seaport Group, LLC.       The Trial Court decision is

   10      reported at 2016 New York Misc. Lexis 1454 (April 15, 2016),

   11      and the decision on appeal is reported at 148 A.D. 3d 590

   12      (2017).     The decision on appeal was issued after the

   13      Stonehill decision.

   14                   In the Luxor case, Luxor argued that Seaport had

   15      breached a contract to sell Twitter common stock.           Seaport

   16      argued that there had only been an unenforceable agreement

   17      to agree and not an enforceable contract.           The Trial Court

   18      decision noted that, "Seaport intends that the parties did

   19      not enter into an enforceable agreement because the

   20      purported agreement was explicitly subject to mutually

   21      satisfactory documentation.       Seaport urges that the parties

   22      did not intend those instant messages to be binding until

   23      their agreement was reduced to writing and signed, which

   24      never happened.     Seaport maintains Luxor requested that the

   25      trade be subject to documentation, and Luxor's internal

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    1      emails demonstrate that it knew and intended that the

    2      subject to language meant there was an out.

    3                   The Trial Court agreed and held that instant

    4      messages saying that a deal was "subject to mutually

    5      satisfactory documentation" constituted a reservation of a

    6      right not to be bound absent a written agreement.           The Trial

    7      Court accepted Seaport's argument that, "to ignore these

    8      expressions of the parties' intent would violate the

    9      fundamental principle that the court must interpret the

   10      agreement to give every provision meaning."         It, therefore,

   11      granted summary judgment in favor of Seaport.

   12                   The Appellate Division affirmed, holding that the

   13      "subject to" language had the effect that the lower court

   14      had found.     It confirmed that the Stonehill decision did not

   15      require a different result, and that, "unlike in Stonehill,

   16      the totality of the circumstances here does not reflect any

   17      certainty as to the existence of an enforceable contract."

   18                   It certainly is true after Stonehill that a

   19      statement that an agreement is subject to further

   20      documentation and execution of a written contract does not

   21      automatically indicate an intent not to be bound, at least

   22      where there are other explicit statements in the parties'

   23      dealings that plainly and unequivocally confirm an intent to

   24      be bound.

   25                   But the language does have meaning, and it

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    1      frequently is understood and used to convey the notion that

    2      a party does not intend to be bound at all unless and until

    3      a written agreement is signed.

    4                  I find that that is what the parties understood

    5      the language to mean in this particular case.

    6                  Whitebox urges me to find the contrary and places

    7      strong reliance on Chief Judge McMahon's decision in Bear

    8      Stearns Investments Products v. Hitachi Auto Products USA,

    9      401 B.R. 598 (SDNY 2009).

   10                  I should first note that all of Judge McMahon's

   11      discussions of the relevant case law and her findings about

   12      the absence of a full agreement in that case are fully

   13      consistent with what I have held and with what I have found

   14      in this case.

   15                  The only difference in the outcomes is that in

   16      Bear Stearns, Judge McMahon found that an enforceable Type

   17      II contract had been reached.        She explicitly declined to

   18      reach such a conclusion based on contentions about industry

   19      custom where there was no evidence that the seller was

   20      familiar with those customs.       However, she found that there

   21      was other evidence, primarily in the form of an internal

   22      communication that the seller had sent that showed, in her

   23      mind, a clear intent by the seller to be bound by a

   24      preliminary agreement and to negotiate the rest of the terms

   25      in good faith.

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    1                   Here, in contrast, I find that the evidence shows

    2      the opposite, for all of the reasons that I have explained

    3      in detail and that I need not repeat.

    4                   As the Court of Appeals noted in its decision in

    5      RG Group, Inc. v. Horn & Hardart Co., 751 F.2nd 69 74-75

    6      (2nd Circuit 1984), "It is important to commerce that the

    7      law make clear what force will be given to various

    8      expressions of intent, or otherwise, parties could never be

    9      assured that they were, in fact, channeling their

   10      negotiations toward an oral contract or toward a written

   11      one.    Hard and fast requirements of former are out of place,

   12      of course.     But when a party gives forthright reasonable

   13      signals that it means to be bound only by a written

   14      agreements, courts should not frustrate that intent."

   15                   I find that Landstar gave such forthright

   16      reasonable signals in this case; and, therefore, that no

   17      binding contract of any kind, whether a fully formed

   18      contract or a so-called Type II contract could have been

   19      formed in the absence of a signed written agreement.

   20      Whether this is stated as a reservation of the right not to

   21      be bound, for purposes of the first factor in the Winston

   22      decision, or as what the evidence shows as to the parties'

   23      intent.

   24                   And as to the context of the negotiation, the

   25      first and second factors listed at Cara, I find the evidence

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    1      clearly shows an intent not to be bound to any agreement at

    2      all, including any preliminary agreement, unless and until a

    3      full written agreement on all terms has been signed.

    4                  It is not really clear that I even need to

    5      consider the other factors in light of this finding.              See

    6      (indiscernible), 414 Fed. Appendix 354 355 (2nd Circuit

    7      2011), but I will do so for the sake of completeness.

    8                  The second factor to be considered under Winston

    9      and the fourth factor listed under Cara is whether there has

   10      been partial performance of the contract.           This is relevant,

   11      of course, because partial performance is good evidence the

   12      parties believed they had an actual deal.           The parties

   13      concede that there was no partial performance in this case.

   14                  The third factor to be considered under Winston

   15      and the third factor under Cara is, "whether all terms of

   16      the alleged contract had been agreed upon" or whether there

   17      were "open terms."

   18                  By the end of trial, both parties conceded that

   19      there was never a full agreement on all terms.           That itself

   20      does not bar a finding that a Type II contract existed if

   21      there was an agreement to be bound by some terms, coupled

   22      with a binding agreement to negotiate in good faith as to

   23      other terms.    But there was no such binding partial

   24      agreement or binding agreement to negotiate in this case.

   25                  The final factor to be considered is whether the

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    1      agreement at issue is the type of contract usually committed

    2      to writing or, as stated in Cara, the customary form of the

    3      transaction.    I find based on the record that it is

    4      customary for parties in this industry to execute written

    5      documentation in connection with the trading of claims.            The

    6      witnesses at trial confirmed that this is the usual

    7      practice, though Whitebox contended it was not necessarily a

    8      legal requirement.

    9                  As I noted earlier, Whitebox argued that there are

   10      customs in the claims trading field that they believe call

   11      for a different result in this case.          Whitebox argues that

   12      it is important that traders be able to make deals based on

   13      emails exchanges and important that parties be bound by

   14      those deals before written documents are signed because,

   15      otherwise, parties would be free to pull out of deals just

   16      because prices have changed.

   17                  But if this is truly the case, the right answer is

   18      that Seaport and other parties in this industry ought to be

   19      clear and direct in setting forth their agreements in the

   20      emails they exchange.     If Seaport wishes to enter into

   21      partial Type II contracts, it can and should say so

   22      explicitly.    If that is its intent, there is no reason why

   23      it cannot say in its emails that we consider this to be a

   24      binding legally -- or legally binding preliminary contract

   25      with price already agreed upon and with the parties

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    1      obligated legally in good faith to negotiate other terms.

    2                  What seems to be happening instead is that the

    3      participants in this industry use language that reassures

    4      sellers that nothing is binding until the whole deal is

    5      done, and that permits the people in the industry to take

    6      different positions in different cases as to what the

    7      language means and what the customs allegedly are, depending

    8      upon the participants' self-interest in those individual

    9      cases.

   10                  To see this disparity, one need only contrast the

   11      positions taken by Whitebox here with the positions taken by

   12      Seaport in the New York State Court.          No court should

   13      endorse such a practice.

   14                  Similarly, much of what Whitebox argues, in terms

   15      of custom, is not so much a request that I find that there

   16      was an actual preliminary agreement here; rather, it asks

   17      me, due to the needs of the industry, to impose one upon

   18      Landstar, even in the absence of proof that Landstar itself,

   19      which is not a participant in the industry, actually

   20      understood that it had entered into a preliminary agreement.

   21      That is not the proper role of a court.

   22                  The role of a court is to determine what parties

   23      have agreed to, and if they have made an agreement, to

   24      enforce it.    It is not the role of the court whether to

   25      serve the interests of an industry or for other purposes, to

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    1      impose contracts on parties that the parties themselves have

    2      not agreed to.

    3                  Courts have correctly urged caution in finding an

    4      intent to form a preliminary or Type II contract.           And I

    5      find, based on the evidence, that it is quite clear that

    6      there was no intent by either party to form such a contract

    7      in this case.

    8                  There was a conceptual agreement as to a purchase

    9      price, but there was never a binding agreement between the

   10      parties.    I, therefore, find in favor of Landstar.         The

   11      transfer notices should be canceled and withdrawn, and the

   12      claims and noticing agent should recognize that Landstar

   13      entities as the proper owners of the claims.

   14                  A separate order will be issued to this effect.

   15      Thank you very much.

   16                  (Whereupon these proceedings were concluded at

   17      5:38 PM)

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    1                            C E R T I F I C A T I O N

    2

    3              I, Sonya Ledanski Hyde, certified that the foregoing

    4      transcript is a true and accurate record of the proceedings.

    5

    6

    7

    8      Sonya Ledanski Hyde

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   25      Date:     July 25, 2018

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